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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                  :
  RONDABAY LIGGINS-MCCOY,                         :
                                                  :         CIVIL ACTION
                        Plaintiff,                :
                v.                                :         NO. 19-1639
                                                  :
  DEMOCRATIC CAUCUS OF THE                        :
  SENATE OF PENNSYLVANIA, et al.,                 :
                                                  :
                       Defendants.                :
                                                  :

                                         ORDER


       AND NOW, this 5th day of May 2022, IT IS HEREBY ORDERED AND DECREED

as follows:

   1. Plaintiff’s request for oral argument is DENIED;

   2. Defendant Democratic Caucus of the Senate of Pennsylvania’s (“Democratic Caucus”)

       Motion for Summary Judgment (ECF No. 43) is GRANTED and Defendant Democratic

       Caucus is DISMISSED from this suit;

   3. Defendant Senator Anthony H. Williams’ Motion for Summary Judgment (ECF No. 46)

       is GRANTED IN PART AND DENIED IN PART;

   4. Plaintiff’s Motion to Strike Defendants’ Reply Briefs (ECF No. 63) is DENIED;

   5. Plaintiff’s Motion to Strike the Democratic Caucus’ Newly Disclosed Witness (ECF No.

       64) is DENIED AS MOOT;

   6. Defendants’ Joint Motion for Protective Order (ECF No. 67) is DENIED and the Clerk

       of Court shall UNSEAL Exhibits 11 and 12 at ECF No. 58. Exhibits 14 and 15 shall

       remain under seal;
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      7. Plaintiff’s Motion to Strike Defendant Senator Williams’ Newly Disclosed Witness is

         DENIED; and

      8. Defendants’ Motion for Leave to File a Reply Brief (ECF No. 72) is GRANTED and the

         Clerk of Court is directed to file the Reply Brief attached as Exhibit 1 to Defendants’

         Motion of record with the Court.1



                                                              BY THE COURT:
                                                              /s/ Petrese B. Tucker
                                                              __________________________
                                                              Hon. Petrese B. Tucker, U.S.D.J.




1
    This Order accompanies the Court’s Memorandum Opinion dated May 5, 2022.
